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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION

MEREACOS REED,

      Plaintiff,

v.                                           CASE NO. 1:16-cv-142-MW-GRJ

DEP’T OF VETERANS AFFAIRS,

     Defendant.
___________________________/

                    REPORT AND RECOMMENDATION

      This matter is before the Court on ECF No. 42, Defendant’s Motion to

Dismiss Plaintiff’s Second Amended Complaint (ECF No. 40). Plaintiff has

filed a response in opposition (ECF No. 45). For the reasons explained

below, it is respectfully recommended that Defendant’s motion to dismiss

be denied.

                              I. BACKGROUND

      Plaintiff brings claims against the Department of Veterans Affairs (the

“VA”) under Title VII of the Civil Rights Act, 42 U.S.C. § 2000e, et seq.

(“Title VII”). Plaintiff was initially represented by counsel in this case, but is

now proceeding pro se. See ECF Nos. 1, 36. Plaintiff was employed as a

Telemetry Technician at the Malcolm Randall Veterans Administration
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Medical Center. Plaintiff’s First Amended Complaint, ECF No. 21, alleged

that Defendant created a hostile work environment in violation of Title VII

and that she was disciplined and ultimately terminated in retaliation for

EEO activity, also in violation of Title VII. ECF No. 21 at 3-4. Defendant

moved to dismiss the First Amended Complaint, arguing that Plaintiff’s

hostile work environment claim should be dismissed for failure to state a

claim under Fed. R. Civ. P. 12(b)(6), and that her retaliation claim should

be dismissed for failure to exhaust administrative remedies because

Plaintiff had an appeal of her termination pending before the Merit Systems

Protection Board. ECF No. 22. Defendant did not argue that Plaintiff had

failed to exhaust administrative remedies with respect to her hostile work

environment claims. See id.

      The Court dismissed Plaintiff’s retaliation and termination claim for

failure to exhaust administrative remedies. The Court dismissed Plaintiff’s

hostile work environment claim without prejudice, with leave to file a

Second Amended Complaint. ECF No. 39.

      The Second Amended Complaint clarifies Plaintiff’s hostile work

environment claims. Plaintiff, who is African-American, alleges that from

August 23, 2012, through August 17, 2015, Plaintiff’s coworkers, most of
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whom were white, subjected Plaintiff to race-based harassment. Plaintiff

contends that in or about December 2013, a white coworker “likened

Plaintiff to less than a monkey,” while complaining that she was not

properly training another worker. The coworker stated that “even a

monkey can do this job.” ECF No. 40 at 3. Plaintiff complained to the

coworker, and the next day he greeted her with the taunt “what’s up

monkey?” Plaintiff complained to her nurse manager, but no action was

taken. The coworker subsequently told Plaintiff that “it does no justice to

complain,” and again reiterated that a monkey could do Plaintiff’s job. Id.

      Plaintiff alleges that she was repeatedly subjected to insults

regarding her ethnic dialect. Id. at 4. Further she alleges that “[t]he notion

that Black people are unclean was a frequent theme of the speech and

behavior of Plaintiff’s white coworkers.” Plaintiff alleges that at least three

times per day, from November 2014 to August 2015, five of her white

coworkers would disinfect items that she had touched as soon as she left

her workstation. The white coworkers did not similarly clean or disinfect

items that had been touched by each other. Plaintiff alleges that during

2014 and 2015, on at least 60 occasions, two of her white coworkers, in

her presence, stereotyped the African medical staff as “stinking” and not
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bathing. Id.

      Plaintiff further alleges that because of her race and her “Louisiana

roots,” coworkers stereotyped her as being a practitioner of voodoo. In

May 2014, a coworker loudly called her a “Louisiana voodoo ass.” Id.

Plaintiff claims that on at least five occasions in 2015, one of the white

coworkers, who habitually disinfected items she had touched, taunted

Plaintiff because of her race with verbiage about hexes and voodoo dolls.

Plaintiff alleges that she had been warned about that coworker’s

“skinhead” background. Id.

      Plaintiff alleges that she complained to management about the

foregoing conduct, but no remedial action was taken. Id. at 5.

      The VA first argues that Plaintiff’s hostile work environment claim

should be dismissed for failure to exhaust administrative remedies.

Defendant contends that the Second Amended Complaint contains “new”

allegations that are barred because they are unexhausted. Defendant

contends, without identifying specific claims, that the allegations contained

in the Second Amended Complaint “are not contained in the accepted

claims by the EEOC.” Defendant then contends that Plaintiff fails to state

a claim for relief under Fed. R. Civ. P. 12(b)(6). ECF No. 42.
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                         II. STANDARD OF REVIEW

      “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “Factual allegations

must be enough to raise a right to relief above the speculative level,” and

the complaint “must contain something more . . . than . . . a statement of

facts that merely creates a suspicion [of] a legally cognizable right of

action.” Twombly, 550 U.S. at 555. Conclusory allegations that “amount to

nothing more than a formulaic recitation of the elements of a cause of

action” are “not entitled to be assumed true.” Iqbal, 556 U.S. at 681. To

escape dismissal, a complaint must allege facts sufficient to move claims

“across the line from conceivable to plausible.” Id. at 683 (quoting

Twombly, 550 U.S. at 570)). “The plausibility standard is met only where

the facts alleged enable ‘the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged.’” Franklin v. Curry, 738

F.3d 1246, 1251 (11th Cir. 2013) (quoting Iqbal, 556 U.S. at 678). “The

complaint’s allegations must establish ‘more than a sheer possibility that a

defendant has acted unlawfully.’” Id. (quoting Iqbal, 556 U.S. at 678).
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                               III. DISCUSSION

A. Exhaustion of Administrative Remedies

      A federal employee must pursue and exhaust her administrative

remedies as a prerequisite to filing a Title VII action. See Shiver v.

Chertoff, 549 F.3d 1342, 1344 (11th Cir.2008) ; 29 C.F.R.

§ 1614.105(a)(1). A Plaintiff’s complaint “is limited by the scope of the

EEOC investigation which can reasonably be expected to grow out of the

charge of discrimination.” Gregory v. Ga. Dept. of Human Res., 255 F.3d

1277, 1280 (11th Cir. 2004). Claims in a complaint that “‘amplify, clarify, or

more clearly focus’” the allegations in the EEOC charge are permitted.

Gregory, 255 F.3d at 1279 (quoting Wu v. Thomas, 863 F.2d 1543, 1547

(11th Cir. 1989)).

      A district court may consider a document attached to a motion to

dismiss without converting the motion into a motion for summary judgment

if (1) the document is central to plaintiff's claim, and (2) its authenticity is

not challenged. Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005).

Moreover, when considering a Rule 12(b) motion to dismiss for failure to

exhaust administrative remedies, “it is proper for a judge to consider facts

outside of the pleadings and to resolve factual disputes as long as the
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factual disputes do not decide the merits and the parties have sufficient

opportunity to develop a record.” Bryant v. Rich, 530 F.3d 1368, 1376

(11th Cir. 2008).

      A comparison of the First and Second Amended Complaints reflects

that most of the allegations of the Second Amended Complaint were

included in the First Amended Complaint. In the First Amended Complaint,

Plaintiff alleged that her coworkers subjected her to race-based

harassment, including using racial and ethnic slurs such as referring to

Plaintiff as a “monkey” and calling her a “Louisiana voodoo ass,” and

mocking her accent. ECF No. 21. The Court finds that the Second

Amended Complaint merely amplifies or clarifies these claims. The only

new facts asserted in the Second Amended Complaint concern Plaintiff’s

allegations that coworkers denigrated Plaintiff and other black employees

by expressing the notion that black people were unclean and did not bathe.

See ECF Nos. 21, 40.

      To the extent that Defendant argues that claims in the Second

Amended Complaint that were also included in the First Amended

Complaint should be dismissed for failure to exhaust, the motion is not

well-taken. Fed. R. Civ. P. 12(g), governing “limitation on further motions,”
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provides that a party presenting a defense to a claim for relief by motion

“must not make another motion . . . raising a defense or objection that was

available to the party but omitted from its earlier motion.” As the advisory

committee notes to the Rule explain, “[t]his required consolidation of

defenses and objections in a Rule 12 motion is salutary in that it works

against piecemeal consideration of a case.” Fed. R. Civ. P. 12(g) advisory

committee’s note (1966). The instant motion to dismiss would require this

Court to engage in piecemeal litigation of an exhaustion issue that was

available to Respondent when the original motion to dismiss was filed.

      Further, the documents appended to Defendant’s motion do not

establish that the claims asserted in the Second Amended Complaint,

including the new claims, were not within the scope of the EEOC

investigation. In opposition to the motion to dismiss, Plaintiff contends that

she should be afforded an opportunity to develop the record because “the

issues that Plaintiff presented during the EEO investigation exceeded

those that are contained in the exhibits to Defendant’s motion.” ECF No.

45 at 3.

      Defendant’s Exhibit 1 is a one-page form “Complaint of Employment

Discrimination” that references “attached documents with dates.” ECF No.
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42-1. There are no attachments, and the Exhibit sheds no light on the

scope of the EEOC investigation of Plaintiff’s complaints.

      Defendant’s Exhibit 2 is a February 27, 2015, letter addressed to

Plaintiff from the VA with the subject “Notice of Amendment (2) of your

EEO Complaint No. 2001-0573-2014104546, filed October 21, 2014.” This

Exhibit references other documents, including Plaintiff’s “amendment letter

dated January 13, 2015,” which included “a claim of hostile work

environment consisting of eight events and two discrete acts[.]” ECF No.

42-2 at 1. Plaintiff’s January 13, 2015, amendment letter is not included in

the Exhibit. The Exhibit states that based on Plaintiff’s February 27, 2015,

request to amend her complaint—which also is not included—Plaintiff’s

hostile work environment complaint based on race (Black) and national

origin (United States/Creole), and reprisal was deemed to include eleven

events, including a claim that a coworker told Plaintiff that it did no good to

complain and that a monkey could do her job. Id. at 3. The Exhibit states

that Plaintiff’s hostile environment complaint “passes the severe and

pervasive requirement for further processing,” and Plaintiff’s claim of

harassment was accepted, as well as other claims that constituted

“independent claims” of discrimination. Id. While this Exhibit thus sets out
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eleven events deemed to constitute Plaintiff’s hostile environment claim

that were accepted for investigation as of February 2015, the Exhibit sheds

no light on what additional acts or incidents Plaintiff may have sought to

include by way of her amendment letters or subsequent amendment

letters. The Second Amended Complaint alleges discrimination from

August 23, 2012, through August 17, 2015. See ECF No. 40.

      Defendant’s Exhibit 3 is undated and consists of four pages of an

“Investigative Report” from the VA’s Office of Resolution Management.

The Report appears to be incomplete because although it lists 38 events

that are deemed to comprise Plaintiff’s complaint, the Exhibit includes no

pages of the Report beyond the list of events and a list of relevant

documents. ECF No. 42-3. Further, this Report describes events

beginning August 17, 2015, and continuing through July 2016, and

therefore it is unclear whether it even pertains to the acts underlying the

Second Amended Complaint. See id. To the extent Exhibit 3 is relevant to

Plaintiff’s claims in this case, it references eight “notice of amendment”

letters submitted by Plaintiff through July 14, 2016. Those letters have not

been provided to this Court. Because this Report is incomplete, its

relevance to Plaintiff’s Second Amended Complaint is unclear, and
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Plaintiff’s amendment letters have not been provided, this Exhibit sheds no

light on whether Plaintiff exhausted the claims in the Second Amended

Complaint before filing this case.

      On this record, Defendant has failed to establish that Plaintiff did not

administratively exhaust the claims asserted in the Second Amended

Complaint. The Court therefore concludes that the motion to dismiss for

failure to exhaust should be denied.

B. Hostile Work Environment Claim

      Defendant argues that Plaintiff has failed to state a prima facie case

of hostile work environment because she has not shown that the alleged

harassment was based on a protected characteristic and that the alleged

harassment was severe or pervasive. ECF No. 42 at 8-12.

      To establish a prima facie case for a hostile work environment under

§ 1981, Plaintiff must show the following five elements:

      (1) that [s]he belongs to a protected group; (2) that [s]he has
      been subject to unwelcome harassment; (3) that the
      harassment must have been based on a protected
      characteristic of the employee . . . ; (4) that the harassment
      was sufficiently severe or pervasive to alter the terms and
      conditions of employment and create a discriminatorily abusive
      working environment; and (5) that the employer is responsible
      for such environment either under a theory of vicarious or of
      direct liability.
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Miller v. Kenworth of Dothan, Inc., 277 F.3d 1269, 1275 (11th Cir. 2002).

      The requirement that the harassment be severe or pervasive

contains both an objective and a subjective component. Miller, 277 F.3d at

1275 (citing Harris v. Forklift Systems, Inc., 510 U.S. 17, 21 (1993)).

“Thus, to be actionable, this behavior must result in both an environment

‘that a reasonable person would find hostile or abusive’ and an

environment that the victim ‘subjectively perceive[s] . . . to be abusive.’” Id.

(quoting Harris, 510 U.S. at 21-22). In evaluating the objective severity of

the harassment, the Court considers (1) the frequency of the conduct; (2)

the severity of the conduct; (3) whether the conduct is physically

threatening or humiliating, or a mere offensive utterance; and (4) whether

the conduct unreasonably interferes with the employee’s job performance.

Allen v. Tyson Foods, 121 F.3d 642, 647 (11th Cir. 1997) (citing Harris, 510

U.S. at 23). In general, isolated incidents or occasional abusive language

will not amount to a hostile work environment. Faragher v. City of Boca

Raton, 524 U.S. 775, 788 (1998).

      Defendant first contends that Plaintiff has failed to allege that the

conduct was based on a protected characteristic. Specifically, Defendant

argues that Plaintiff’s claim alleging that white coworkers stereotyped the
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“African” medical staff as “stinking” and not bathing “has nothing to do with

a protected characteristic of Plaintiff since she is African-American,” and

not African. ECF No. 42 at 8-9. The Court rejects this construction of

Plaintiff’s claim. It is obvious from Plaintiff’s complaint as a whole that her

claims are based on her race and that of the other black employees who

were allegedly denigrated by white coworkers. See ECF No. 40.

      Defendant next contends that Plaintiff’s allegations do not show that

the harassment was severe or pervasive. Liberally construing pro se

Plaintiff’s allegations and accepting them as true for the purposes of this

motion, the Court finds that the allegations are sufficient to withstand a

motion to dismiss.

      Plaintiff alleges conduct that spanned a three-year period and that

included referring to her as a “monkey,” mocking her for her ethnic dialect,

white coworkers treating her as though she were “unclean,” stereotyping

Plaintiff as a practitioner of voodoo, and taunting Plaintiff because of her

race and ethnicity with verbiage about hexes and voodoo dolls. R. 40 at 4.

These allegations are sufficient to state a claim that the conduct was so

pervasive or severe that it altered the terms and conditions of employment

and created a discriminatory abusive working environment. Miller, 277
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F.3d at 1275.

                        IV. RECOMMENDATION

     In light of the foregoing, it is respectfully RECOMMENDED that

Defendant’s Motion to Dismiss, ECF No. 42, should be DENIED.

     IN CHAMBERS this 18th day of May 2018.

                                  s/Gary R. Jones
                                  GARY R. JONES
                                  United States Magistrate Judge



                       NOTICE TO THE PARTIES

Objections to these proposed findings and recommendations must be
filed within fourteen (14) days after being served a copy thereof. Any
different deadline that may appear on the electronic docket is for the
court’s internal use only, and does not control. A copy of objections
shall be served upon all other parties. If a party fails to object to the
magistrate judge's findings or recommendations as to any particular
claim or issue contained in a report and recommendation, that party
waives the right to challenge on appeal the district court's order
based on the unobjected-to factual and legal conclusions. See 11th
Cir. Rule 3-1; 28 U.S.C. § 636.
